JS 44 (Rev. 10/20)                   Case 2:21-cv-03515-JS
                                                      CIVILDocument
                                                            COVER1SHEET
                                                                    Filed 08/06/21 Page 1 of 12
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
          KHALIA FREEMAN                                                                                       MOORE EYE CARE, P.C. D/B/A MOORE EYE INSTITUTE
    (b)   County of Residence of First Listed Plaintiff                PHILADELPHIA                            County of Residence of First Listed Defendant                                 DELAWARE
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)

          Sidney L. Gold, Esquire - Sidney L. Gold & Assoc., P.C.
          1835 Market St., Ste. 515, Phila, PA 19103 215-569-1999
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                           and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF          DEF                                              PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State          ✖ 1            1           Incorporated or Principal Place         4     4
                                                                                                                                                                  of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2              2      Incorporated and Principal Place                5        5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                                  of Business In Another State

                                                                                                      Citizen or Subject of a             3              3      Foreign Nation                                  6        6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                          BANKRUPTCY                                   OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158                            375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                                   376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                                       3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                                    400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                                  410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                 820 Copyrights                                  430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                               830 Patent                                      450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                               835 Patent - Abbreviated                        460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                      New Drug Application                        470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                       840 Trademark                                       Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets                        480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                  Act of 2016                                     (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                               485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                                      Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                                 490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)                             850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                               Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                               890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                                 891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                               893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                                895 Freedom of Information
    230 Rent Lease & Ejectment       ✖   442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff                            Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                               896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party                              899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                                     Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                                            Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                                 950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                               State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                                8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                                 Litigation -
                                                                                                                                  (specify)                 Transfer                                     Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             ADA, PHRA
VI. CAUSE OF ACTION                          Brief description of cause:

VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                               150,000 IN EXCESS                                JURY DEMAND:                           ✖   Yes       No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
                                                                                                                                               Digitally signed by Sidney L. Gold, Esquire
08/06/2021                                                                  Sidney L. Gold, Esquire                                            Date: 2021.08.06 13:02:42 -04'00'


FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                                         MAG. JUDGE
JS 44 Reverse (Rev. 10/20)    Case 2:21-cv-03515-JS Document 1 Filed 08/06/21 Page 2 of 12
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                              Case 2:21-cv-03515-JS  Document
                                                UNITED           1 Filed
                                                       STATES DISTRICT   08/06/21 Page 3 of 12
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                   1718 S. Conestoga Street, Philadelphia, Pennsylvania 19143
Address of Plaintiff: ______________________________________________________________________________________________
                                 100 W. Sproul Road, Suite 100, Springfield, Pennsylvania 19084
Address of Defendant: ____________________________________________________________________________________________
                                              100 W. Sproul Road, Suite 100, Springfield, Pennsylvania 19084
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      08/06/2021
DATE: __________________________________
                                                                          /s/ Sidney L. Gold, Esq.
                                                             __________________________________________                                     21374
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

     SIDNEY L. GOLD, ESQUIRE counsel of record or pro se plaintiff, do hereby certify:
I, ____________________________________________,

      ✔       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔        Relief other than monetary damages is sought.


      08/06/2021
DATE: __________________________________
                                                                                /s/ Sidney L. Gold, Esq.
                                                             __________________________________________                                     21374
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM
    KHALIA FREEMAN                                :                          CIVIL ACTION
                                                  :
                        v.                        :
    MOORE EYE CARE, P.C.                          :
                                                  :                          NO.
    D/B/A MOORE EYE INSTITUTE
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( )
                                                                                                      ✔




08/06/2021                         /s/ Sidney L. Gold, Esq.        PLAINTIFF
Date                                Attorney-at-law                    Attorney for
(215) 569-1999                  (215) 569-3870                        sgold@discrimlaw.net

Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02
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                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.
    (c)         The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.
     (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                              Civil Justice Expense and Delay Reduction Plan)

     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KHALIA FREEMAN,                               :
                                              :
                         Plaintiff,           :
                                              :
               v.                             :       CIVIL ACTION NO.__________
                                              :
MOORE EYE CARE, P.C.                          :
d/b/a MOORE EYE INSTITUTE,                    :
                                              :
                         Defendant.           :


                               COMPLAINT AND JURY DEMAND

I.     PRELIMINARY STATEMENT:

       1.      This is an action for an award of damages, attorneys’ fees and other relief on

behalf of the Plaintiff, Khalia Freeman (“Plaintiff Freeman”), a former employee of the

Defendant, Moore Eye Care, P.C. d/b/a Moore Eye Institute (“Defendant”), who has been

harmed by the Defendant’s discriminatory employment practices.

       2.      This action arises under the Americans with Disabilities Act, 42 U.S.C. §12101,

et seq. (“ADA”) and the Pennsylvania Human Relations Act (“PHRA”), 43 P.S. §951 et seq.

II.    JURISDICTION AND VENUE:

       3.      The jurisdiction of this Court is invoked, and venue is proper in this judicial

district, pursuant to 28 U.S.C. §§1331 and 1391, as Plaintiff Freeman’s claims are substantively

based on the ADA.

       4.           The supplemental jurisdiction of this Court is invoked pursuant to 28 U.S.C.

§1367 to consider Plaintiff Freeman’s claims arising under the PHRA.

       5.      All conditions precedent to the institution of this suit have been fulfilled and

Plaintiff Freeman has satisfied all jurisdictional prerequisites to the maintenance of this action.


                                                  1
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On May 12, 2021, a Notice of Right to Sue was issued by the Equal Employment Opportunity

Commission and this action has been filed within ninety (90) days of receipt of said notice.

III.   PARTIES:

       6.        Plaintiff, Khalia Freeman (“Plaintiff Freeman”), is an adult individual and citizen

of the Commonwealth of Pennsylvania, residing therein at 1718 S. Conestoga Street,

Philadelphia, Pennsylvania 19143.

       7.        Defendant, Moore Eye Care P.C. d/b/a Moore Eye Institute (“Defendant”), is a

professional corporation duly organized and existing under the laws of the Commonwealth of

Pennsylvania, maintaining a place of business located therein at 100 W. Sproul Road, Suite 100,

Springfield, Pennsylvania 19084.

       8.        At all times relevant hereto, the Defendant was acting through its agents, servants,

and employees, who were acting within the scope of their authority, course of their employment,

and under the direct control of the Defendant.

       9.        At all times material herein, the Defendant is and has been a “person” and

“employer” as defined under the ADA and PHRA, and is accordingly subject to the provisions of

each said Act.

IV.    STATEMENT OF CLAIMS:

       10.       Plaintiff Freeman was employed by the Defendant from on or about April 29,

2019 until on or about June 28, 2020, the date of her unlawful termination.

       11.       During the course of her employment with the Defendant, Plaintiff Freeman held

the position of Front Desk, and at all times maintained a satisfactory performance rating in said

capacity.




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       12.      On or about June 19, 2020, Plaintiff Freeman commenced a three (3) day vacation

to visit her family in Atlanta, Georgia. Plaintiff Freeman obtained permission from Brittany LNU

(“Brittany”), Office Manager, to travel out of state prior to her vacation.

       13.      On or about June 22, 2020, Plaintiff Freeman called out of work and advised

Michelle Gallo (“Gallo”), Practice Administrator, that she was not feeling well. Plaintiff

Freeman specifically informed Gallo that she was suffering from stomach issues.

       14.      By the following day, on or about June 23, 2020, Plaintiff Freeman no longer felt

ill. As such, Plaintiff Freeman returned to work with Gallo’s knowledge and approval.

       15.      However, on or about June 25, 2020, Plaintiff Freeman began to experience mild

cold-like symptoms during her work shift. As Defendant’s office was short-staffed, Plaintiff

Freeman finished her work shift on said date.

       16.      On or about June 26, 2020, Plaintiff Freeman returned to work, as she was no

longer experiencing any symptoms of illness. However, upon Plaintiff Freeman’s arrival, Gallo

sent Plaintiff Freeman home from work and directed her to undergo testing for COVID-19. At all

times thereafter, Gallo perceived Plaintiff Freeman to be disabled.

       17.      Per Gallo’s directive, Plaintiff Freeman made an appointment to undergo COVID-

19 testing on June 29, 2020, and advised Gallo of her appointment.

       18.      However, prior to receiving Plaintiff Freeman’s COVID-19 test results,

Defendant terminated Plaintiff Freeman’s employment, allegedly because she had spread illness

to her coworkers.

       19.      Plaintiff Freeman believes and avers that the Defendant’s articulated reason for

her termination is pretextual and that the Defendant actually terminated her employment based

on a perceived disability (COVID-19).



                                                  3
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                                         COUNT I
                         (ADA – Perceived Disability Discrimination)
                            Plaintiff Freeman v. the Defendant

       20.      Plaintiff Freeman incorporates by reference paragraphs 1 through 19 of this

Complaint as though fully set forth herein.

       21.      The actions of the Defendant, through its agents, servants and employees, in

subjecting Plaintiff Freeman to discrimination based on a perceived disability, constituted a

violation of the ADA.

       22.      As a direct result of the aforesaid unlawful discriminatory employment practices

engaged in by the Defendant in violation of the ADA, Plaintiff Freeman sustained permanent and

irreparable harm, resulting in her termination from employment, which caused her to sustain a

loss of earnings, plus the value of certain benefits, plus loss of future earning power, plus back

pay, and front pay and interest due thereon.

       23.      As a further direct result of the aforesaid unlawful discriminatory employment

practices engaged in by the Defendant in violation of the ADA, Plaintiff Freeman suffered severe

emotional distress, embarrassment, humiliation, and loss of self-esteem.

                                          COUNT II
                         (PHRA – Perceived Disability Discrimination)
                             Plaintiff Freeman v. the Defendant

       24.      Plaintiff Freeman incorporates by reference paragraphs 1 through 23 of this

Complaint as though fully set forth herein.

       25.      The actions of the Defendant, through its agents, servants and employees, in

subjecting Plaintiff Freeman to discrimination based on her perceived disability, constituted a

violation of the PHRA.




                                                4
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       26.     As a direct result of the aforesaid unlawful discriminatory employment practices

engaged in by the Defendant in violation of the PHRA, Plaintiff Freeman sustained permanent

and irreparable harm, resulting in her termination from employment, which caused her to sustain

a loss of earnings, plus the value of certain benefits, plus loss of future earning power, plus back

pay, and front pay and interest due thereon.

       27.     As a further direct result of the aforesaid unlawful discriminatory employment

practices engaged in by the Defendant in violation of the PHRA, Plaintiff Freeman suffered

severe emotional distress, embarrassment, humiliation, and loss of self-esteem.

                                    PRAYER FOR RELIEF

       28.     Plaintiff Freeman incorporates by reference paragraphs 1 through 27 of this

Complaint as though fully set forth herein.

       WHEREFORE, Plaintiff Freeman requests that this Court enter judgment in her favor

and against the Defendant, and order that:

       a.      Defendant compensate Plaintiff Freeman with a rate of pay and other benefits and

emoluments of employment to which she would have been entitled had she not been subjected to

unlawful discrimination;

       b.      Defendant compensate Plaintiff Freeman with an award of front pay, if

appropriate;

       c.      Defendant pay to Plaintiff Freeman punitive damages, compensatory damages for

future pecuniary losses, pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,

and other nonpecuniary losses as allowable;

       d.      Defendant pay to Plaintiff Freeman pre and post judgment interest, costs of suit

and attorney and expert witness fees as allowed by law;



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      e.      The Court award such other relief as is deemed just and proper.

                                      JURY DEMAND

      Plaintiff Freeman demands trial by jury.


                                           SIDNEY L. GOLD & ASSOC., P.C.

                                    By:      /s/ Sidney L. Gold, Esquire
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DATE: August 6, 2021




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